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                   12
                                                         UNITED STATES DISTRICT COURT
                   13
                                                             DISTRICT OF ARIZONA
                   14
                        Grady Hillis, Grady Hillis Realty, and         No. 3:21-CV-08194-SPL
                   15
                        GLH Property Investments LLC,
                   16                                                  DEFENDANT WHITE MOUNTAIN
                                           Plaintiffs,                 ASSOCIATION OF REALTORS’
                   17                                                  MOTION TO DISMISS SECOND
                   18
                                  vs.                                  AMENDED COMPLAINT

                   19 National Association of Realtors, Arizona        (Oral Argument Requested)
                        Association of Realtors, Arizona Realtors;
                   20 White Mountain Association of Realtors;          (The Honorable Steven P. Logan)
                   21 John Does I-V; Jane Does I-V; ABC
                      Corporations I-V; And XYZ
                   22 Partnerships I-V,

                   23
                                           Defendants.
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                    1            Defendant White Mountain Association of Realtors (“WMAR”) moves pursuant to
                    2 Federal Rule of Civil Procedure 12(b)(6) to dismiss with prejudice the claims brought by

                    3 Plaintiffs Grady Hillis, Grady Hillis Realty (“GHR”), and GLH Property Investments LLC

                    4 (“GLH LLC”) (collectively, “Plaintiffs”) in the Second Amended Complaint (“SAC”) (Dkt.

                    5 56) for failing to state claims as a matter of law for which relief can be granted. This Motion

                    6 is based on the following Memorandum of Points and Authorities, Defendant’s Request for

                    7 Judicial Notice (“RJN”), the Court’s file for this action, and such other matters as the Court

                    8 may consider.

                    9                      MEMORANDUM OF POINTS AND AUTHORITIES
                   10 I.         INTRODUCTION
                   11            In dismissing the First Amended Complaint (Doc. 11) (“FAC”), the Court noted that
                   12 in addition to the FAC’s unreasonable length and excessive, redundant counts and

                   13 paragraphs, Plaintiffs had improperly lumped all the “Defendants” together, making it

                   14 impossible to identify which Defendant did what to whom, with whom, and when. (Doc. 51)

                   15 (“Order”) at p. 4. In addition, the Court observed that, despite its inordinate length, the FAC

                   16 was “largely devoid of facts[.]” Order at p. 5. With these infirmities in mind, the Court

                   17 admonished Plaintiffs that if they intended to amend their complaint, “Plaintiffs risk

                   18 sanctions if the second amended complaint is legally frivolous or factually misleading.”

                   19 Order at p. 5 (citing Rule 11).

                   20            Ignoring the Court’s clear warnings, Plaintiffs filed a 26-page Second Amended
                   21 Complaint (Doc. 56) (“SAC”) asserting 613 counts, which is nothing more than an

                   22 extraordinarily crude cut-and-paste effort derived from the FAC that adds no additional facts

                   23 nor any meaningful attempt to specify which Defendant did what, to whom, with whom,

                   24 where and when. Albeit shorter in length, the SAC is ultimately (as the Court predicted)

                   25 “legally frivolous and factually misleading[,]” requiring its dismissal with prejudice under

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                    1 Rule 12(b)(6).1 As shown below, in addition to failing to comply with Federal Rules of Civil

                    2 Procedure 8(a)’s and 10(a)’s requirements and continuing to assert claims on behalf of a

                    3 legal fiction with no standing to sue, the SAC lacks well-pled facts to support any of

                    4 Plaintiffs’ alleged antitrust, breach of contract, negligence, or tortious interference with

                    5 contractual relations claims. Plaintiffs’ failure to cure these deficiencies in three attempts

                    6 shows the futility of amendment.2

                    7 II.        LEGAL STANDARD
                    8            Dismissal is appropriate on a Rule 12(b)(6) motion if the named Plaintiffs’ alleged
                    9 facts do not state a claim for relief that is “plausible on its face.” Bell Atlantic Corp. v.

                   10 Twombly, 550 U.S. 544, 570 (2007); Fed. R. Civ. P. 12(b)(6). “A claim has facial plausibility

                   11 when the plaintiff pleads factual content that allows the court to reasonably infer that the

                   12 defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)

                   13 (emphasis added). Twombly and its progeny make clear that complaints that do nothing more

                   14 than state legal conclusions, recite elements of antitrust claims, or fail to allege facts to

                   15 plausibly support each element of each antitrust claim should be dismissed under Rule

                   16 12(b)(6). “While legal conclusions can provide the framework of a complaint, they must be

                   17 supported by factual allegations.” Iqbal, 556 U.S. at 679.

                   18            Moreover, allegations of material fact are taken as true and construed in the light most
                   19 favorable to the nonmoving party, Clegg v. Cult Awareness Network, 18 F.3d 752, 754 (9th

                   20 Cir. 1994). But the Court should not accept as true allegations contradicted by any of the

                   21 Complaint’s other allegations, exhibits, or matters properly subject to judicial notice or

                   22

                   23
                        1
                   24  Dismissal with prejudice is proper here as Plaintiffs have had numerous opportunities to
                      cure their significant defects but have failed to do so three times, hence, further amendment
                   25 would be futile. Also, as Plaintiffs failed to cure their defects and comply with the Court’s

                   26 Order, WMAR reserves its right to seek sanctions against Plaintiffs.   th
                                                                                                See Order at 5 (citing
                      Truesdell v. S. Cal. Permanente Med. Grp., 293 F.3d 1146, 1153 (9 Cir. 2002)).
                   27   2
                       Plaintiffs’ SAC has dropped the previously asserted claims for i) violations of the First
                   28 Amendment and ii) sAiding and Abetting Tortious Conduct.
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                    1 consideration. Sprewell v. Golden St. Warriors, 266 F.3d 979, 988 (9th Cir.), amended by

                    2 275 F.3d 1187 (2001). “Nor is the court required to accept as true allegations that are merely

                    3 conclusory, unwarranted deductions of fact, or unreasonable inferences.” Id.

                    4            In addition, a plaintiff filing a complaint must comply with, inter alia, Federal Rules
                    5 of Civil Procedure 8 and 10. Rule 8(a)(2) requires that a complaint contain “a short and plain

                    6 statement of the claim showing that the pleader is entitled to relief,” while Rule 10(b)

                    7 requires that a party i) “state its claims or defenses in numbered paragraphs, each limited as

                    8 far as practicable to a single set of circumstances” and ii) “state each claim founded on a

                    9 separate transaction or occurrence in a separate count.”

                   10 III.       ARGUMENT
                   11            The Court should dismiss Plaintiffs’ claims because their allegations in the SAC still
                   12 do not allow the Court to “draw the reasonable inference” that WMAR is “liable for [any]

                   13 misconduct alleged.” Iqbal, 556 U.S. at 678. And, as before, additional legal defects also

                   14 require dismissal on alternative grounds.

                   15            A.        Plaintiff Grady Hillis Realty is a Fictitious Entity that Must be Dismissed
                   16            “[T]he designation ‘d/b/a,’ or ‘doing business as,’ does not create a separate legal or
                   17 factual entity distinct from the person operating the business[.]” Castle v. Barrett-Jackson

                   18 Auction Co., Ltd. Liab. Co., 276 P.3d 540, 543 n.2 (Ariz. Ct. App. 2012). As explained in

                   19 WMAR’s Motion to Dismiss the FAC (Doc. 36), Plaintiff Grady Hillis Realty is merely

                   20 Grady Hillis’ fictitious “doing business as” tradename, see RJN, ¶ 1–2, Exs. A–B, that is not

                   21 a legally recognized entity separate from Grady Hillis. GHR’s claims can only be brought

                   22 by its sole proprietor, Grady Hillis—not in its own name, as GHR is a legal fiction.

                   23 Nevertheless, despite this issue being raised in WMAR’s Motion to Dismiss the FAC, the

                   24 SAC continues to assert claims on behalf of “Plaintiff Grady Hillis Realty” without

                   25 providing any allegations that would alter the conclusion that—as a matter of law—GHR

                   26 lacks standing to bring an action in its own name and all of its claims must be dismissed.

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                    1            B.        Plaintiffs’ Antitrust Allegations Must be Dismissed3
                    2            The SAC purports to allege both conspiracy and monopoly claims.4 To state a
                    3 conspiracy claim under Section 1 of the Sherman Act (and A.R.S. § 44-1402), the complaint

                    4 must allege evidentiary facts which, if true, will prove: (1) a contract, combination or

                    5 conspiracy among two or more persons or distinct business entities; (2) by which the persons

                    6 or entities intended to harm or restrain interstate trade or commerce; (3) which actually

                    7 injures competition. Kendall v. Visa U.S.A., Inc., 518 F.3d 1042, 1046 (9th Cir. 2008).

                    8 However, there are no facts in the SAC that support the plausible existence of: (i) an antitrust

                    9 agreement involving WMAR; (ii) antitrust injury to Plaintiffs arising directly from

                   10 WMAR’s conduct; or (iii) harm to competition arising directly from WMAR’s conduct.

                   11 Moreover, to support an antitrust conspiracy, for example, the SAC must allege facts that

                   12 support something more than mere parallel conduct of Defendants. Twombly, 550 U.S. at

                   13 554-560; Kendall, 518 F.3d at 1042; Iqbal, 556 U.S. at 668. The something more is often

                   14 referred to as “plus factors,” see Twombly, 550 U.S. at 557 n.4; In re Citric Acid Litig., 191

                   15 F.3d 1090, 1102 (9th Cir. 1999). The SAC does not allege that WMAR entered into a

                   16 conspiracy with anyone, including the other Defendants, nor does the SAC allege a single

                   17 “plus factor” that would support a conspiracy claim under the Sherman Antitrust Act or the

                   18 Arizona Uniform State Antitrust Act.5

                   19

                   20   3
                            Plaintiffs’ Antitrust Counts are labeled in the SAC as “Counts 302–384” and “Count 611.”
                        4
                   21   Plaintiffs allege three federal and Arizona antitrust claims for conspiracy and monopoly:
                      (i) Conspiracy under Section 1 of the Sherman Act, 15 U.S.C. § 1; (ii) Conspiracy under the
                   22 Arizona Uniform State Antitrust Act, A.R.S. § 44-1402; and (iii) Monopoly under the

                   23 Arizona Uniform State Antitrust Act, A.R.S. § 44-1403. See SAC ¶¶ 23–27.
                        5
                          Conspiracy and monopoly claims arising under Arizona Uniform State Antitrust Act
                   24
                        (A.R.S. § 44-1402 and § 44-1403) are similar to conspiracy and monopoly claims arising
                   25   under the Sherman Antitrust Act (15 U.S.C. §§ 1–2). Courts interpreting claims under A.R.S.
                        § 44-1402 and § 44-1403 generally look to federal antitrust law as a guide. See Wedgewood
                   26   Inv. Corp. v. Internat’l Harvester Co., 613 P.2d 620 (Ariz. Ct. App. 1979); Arizona Uniform
                   27   State Antitrust Act, A.R.S. § 44-1412 (federal state antitrust harmonizing statute). Thus,
                        WMAR’s antitrust analysis addresses the federal and Arizona antitrust claims by relying on
                   28   federal antitrust interpretations.
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                    1            To state a monopoly claim under Section 2 of the Sherman Act (and A.R.S. §44-
                    2 1403), the complaint must allege evidentiary facts which, if true, will prove: (1) the

                    3 possession of monopoly power in the relevant market; (2) the willful acquisition or

                    4 maintenance of that power; and (3) causal antitrust injury. FTC v. Qualcomm Incorporated,

                    5 969. F.3d 974, 990 (9th Cir. 2020). The “threshold step is any antitrust case is to accurately

                    6 define the relevant market[.]” Id. at 992. The relevant market enables a court to assess

                    7 whether a particular defendant had power in the relevant market and whether it had used that

                    8 power to lessen or destroy competition. Id. (citations omitted). However, there are no facts

                    9 in the SAC that support the plausible existence of: (i) a relevant market; (ii) WMAR’s

                   10 monopoly power in the relevant market; (iii) WMAR’s exercise of exclusionary conduct in

                   11 the relevant market; (iv) antitrust injury to Plaintiffs arising directly from WMAR’s

                   12 exclusionary conduct in the relevant market; or (v) harm to competition arising directly from

                   13 WMAR’s exclusionary conduct in the relevant market.

                   14            Moreover, the SAC’s Antitrust Allegations that lump all “Defendants” together are
                   15 insufficient to support an antitrust claim. Because antitrust claims are complex, time-

                   16 consuming, and expensive to defend, antitrust complaints must provide sufficient facts to

                   17 support each antitrust claim against each Defendant to satisfy the notice requirements of

                   18 Rule 8(a)(2). See Twombly, 550 U.S. at 554–56, 570; Iqbal, 556 U.S. at 678; Kendall, 518

                   19 F.3d at 1047–48; Oasis Foot & Ankle LLC v. HonorHealth, 2021 WL 4319211 at *3 (D.

                   20 Ariz. September 23, 2021). As such, to survive a motion to dismiss, allegations asserting

                   21 antitrust violations among multiple defendants require facts supporting who, did what, to

                   22 whom (or with whom), where, and when as to each of them. Twombly, 550 U.S. at 565 n.10;

                   23 Kendall, 518 F.3d at 1047–48; Oasis, 2021 WL 4319211 at *3.6 The SAC plainly fails to do

                   24

                   25   6
                        As this Court observed in Oasis last year, “Those allegations reference ‘the Orthopedist
                   26 Defendants,’ the ‘defendants,’ or just the ‘collusive agreement,’ but failing to allege ‘who,
                      did what, to whom (or with whom), where, and when.’ Kendall v. Visa U.S.A., Inc., 518 F.3d
                   27 1042, 1048 (9th Cir. 2008). A plaintiff must do more than ‘offer labels and conclusions or a
                      formulaic recitation of the elements of a cause of action.’ Iqbal, 556 U.S. at 678 (quotation
                   28
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                    1 so against WMAR.

                    2            Importantly, only 14 paragraphs of the SAC’s 70 total paragraphs relate to Plaintiffs’
                    3 antitrust claims. See SAC ¶¶ 9–14, 23–27, 42–43. Of these, 10 paragraphs (the vast majority)

                    4 lump all “Defendants” together, rather than setting forth specific allegations against any

                    5 individual Defendant, including WMAR. See SAC ¶¶ 9, 14, 23–27, 42–43. Consequently,

                    6 as the Court acknowledged in its order dismissing the FAC, such allegations are insufficient

                    7 to support any antitrust claim against WMAR. See Doc. 51 (Order), at 4 (citing Adobe Sys.,

                    8 Inc. v. Blue Source Grp., Inc., 125 Supp. 3d 945, 964 (N.D. Cal. 2015)).

                    9            Only the three remaining paragraphs specifically identify WMAR individually:
                   10 Paragraph 10—WMAR alone redacted personal broker or agent information from multiple

                   11 listing service pursuant to its own rules; Paragraph 11—WMAR and AAR each adopted

                   12 rules regarding the disclosure of personal broker or agent information transmitted through

                   13 the multiple listing service; and Paragraph 12—WMAR and AAR each required the use of

                   14 approved lockboxes (and key access) placed on the doors of homes offered for sale through

                   15 the multiple listing service. See SAC ¶¶ 10-12.7 However, on their face, each of these

                   16 allegations amount to nothing more than separate, independent action by WMAR and AAR,

                   17 and do not even mention NAR, and, thus, fail to support Plaintiffs’ antitrust claims.

                   18            The SAC’s allegations that state legal conclusions or recite antitrust statutory
                   19 language are also insufficient to support an antitrust claim. “A pleading that offers ‘labels

                   20 and conclusions’ or ‘a formulaic recitation of the elements of a cause of action’ will not

                   21 do.’” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555); see Kendall, 518 F.3d at

                   22 1047–48. The allegations in ¶¶ 23–26, here, do nothing more than recite language directly

                   23 from the federal and Arizona antitrust statutes. See SAC ¶¶ 23–26. Paragraphs 27 and 43 do

                   24 nothing more than offer “labels and conclusions” or a “formulaic recitation of the elements

                   25 of a cause of action”—both stating that “Defendants restricted commerce and excluded

                   26

                   27 marks omitted).” Oasis, 2021 WL 4319211 at *3.
                        7
                   28       Each of these allegations are nearly identical to FAC ¶¶ 16–18.
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                    1 competition…”—without stating facts that support what commerce was restricted, what

                    2 competition was excluded, by what conduct, by whom, and when. See SAC ¶¶ 27, 43. As

                    3 such, these allegations are legally insufficient to support any antitrust claim against WMAR.

                    4            C.        Plaintiffs’ Breach of Contract Claims Must be Dismissed8
                    5            Plaintiffs’ breach of contract claims fail to state plausible claims against WMAR. To
                    6 state a claim for breach of contract, a plaintiff must allege (1) the existence of a contract, (2)

                    7 a right thereunder, (3) a breach by a party, and (4) damages. Graham v. Asbury, 540 P.2d

                    8 656, 657 (1975). The SAC fails to do so.

                    9            First, Plaintiffs again fail to identify purported contracts with WMAR. When, as here,
                   10 a complaint fails to allege facts supporting an offer, acceptance, consideration, and

                   11 sufficiently specific terms, the complaint must be dismissed. In re Facebook Inc. Internet

                   12 Tracking Litig., 956 F.3d 589, 610 (9th Cir. 2020); see also Golden Pisces, Inc. v. Fred Wahl

                   13 Marine Constr., Inc., 495 F.3d 1078, 1081 (9th Cir. 2007) (mutual assent required for

                   14 contract formation); Fed. R. Civ. P. 12(b)(6). The existence of a contract is an element of a

                   15 breach of contract claim. In re Facebook, 956 F.3d at 610. And Twombly and its progeny

                   16 make clear that Rule 8(a)(2) requires a complaint to allege sufficient facts supporting each

                   17 element of each claim as to each defendant to give each defendant adequate notice of the

                   18 claims lodged against them. Twombly, 550 U.S. at 555, 565, 565 n.10.

                   19            Yet, as with the FAC, Plaintiffs fail to allege any facts or attach any documents
                   20 supporting the existence of a contract between each Plaintiff and WMAR. Instead, the SAC

                   21 improperly lumps all individual “Plaintiffs” together, and often lumps all or some individual

                   22 “Defendants” together, giving the false impression that such a contract exists. See, e.g., SAC

                   23 at ¶ 29 (“Plaintiffs entered into a contract with Defendants on or about January 1, 1999 where

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                   27   8
                       Plaintiffs’ Breach of Contract Counts are labeled in the SAC as “Counts 1–301,” “Counts
                   28 481–523,” and “Count 610.”
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                    1 Plaintiffs paid Defendants to provide advertising through an MLS service and access to

                    2 homes through lockboxes to enhance Plaintiffs business as a real estate agent or broker.”).9

                    3            And the allegations Plaintiffs make are often incomprehensible. Consider, for
                    4 example, this allegation from SAC ¶ 34:

                    5                      On September 8, 2015 through the present, Defendant NAR,
                                           AAR and WMAR breached their duty when these Defendants
                    6
                                           created, adopted and enforced a Code of Ethics, bylaws, rules,
                    7                      reguations [sic] and procedures (collectively referre [sic] to as
                                           rules) without any authority to do so. Further, these rules were
                    8                      ati-competitive [sic] and violated federal and state law and
                    9                      admistrative [sic] code. As a result, Plaintiffs were damaged.
                                 WMAR has no idea, from reading this paragraph, 1) who made any offer, 2) who
                   10
                        accepted that offer, or 3) the terms of any contract. This paragraph, as with the rest of the
                   11
                        SAC, “altogether fails to give Defendants fair notice of Plaintiffs’ claims.” (DKT 51 at 3.)
                   12
                                 Plaintiffs further attempt to blur Twombly’s requirements by simply referring to
                   13
                        WMAR’s Bylaws and its MLS Rules and Regulations (“MLS Rules”) in the SAC, without
                   14
                        factually supporting how the MLS Rules constitute a contract between each Plaintiff and
                   15
                        WMAR. See SAC ¶ 11 n.3. And they throw these requirements away when they seek relief
                   16
                        based on alleged contracts between WMAR and various non-parties, without any facts
                   17
                        evidencing such contracts or explaining why Plaintiffs would be entitled to enforce such
                   18
                        contacts. See, e.g., SAC ¶¶ 34, 37, 39, 41, 52.
                   19
                                 Second, Plaintiffs fail to identify a contractual right to control the language in
                   20
                        brokerage listings or the right of non-WMAR members to access lockboxes. To survive a
                   21
                        motion to dismiss, a plaintiff must identify the contractual right he has allegedly been denied.
                   22
                        See Levitt v. Yelp! Inc., 765 F.3d 1123, 1133 (9th Cir. 2014) (affirming dismissal where the
                   23
                        plaintiff “allege[d] no contractual right”). While Plaintiffs complain about lockbox access
                   24
                        and MLS control over listings, the SAC fails to tie these general complaints to violations of
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                        9
                       This paragraph, as with so many others, is identical to a paragraph in the FAC. See FAC ¶
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                      42. Indeed, it appears that most of the SAC’s paragraphs were copied and pasted from the
                   28 FAC, with little to no alteration. See generally FAC.
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                    1 any contractual rights and fails to identify any contract allowing them to dictate the specific

                    2 language contained within MLS listings. To the contrary, Plaintiffs allege the opposite:

                    3 “WMAR and AAR have adopted rules and fines that do not allow for the disclosure of

                    4 personal broker or agent information in the public remarks of listings including, but not

                    5 limited to, names, phone numbers, social media accounts.” SAC ¶ 11. Plaintiffs also fail to

                    6 identify any contract wherein WMAR promises to give lockbox access to non-WMAR

                    7 “brokers and agents in Arizona.” As with the MLS limitations issue, Plaintiffs allege that

                    8 these restrictions are required by WMAR rules: “AAR and WMAR require the use of their

                    9 approved lockbox on homes (Supra) that are for sale to be used to access the keys for homes.

                   10 AAR and WMAR limit who can use the lockboxes to only members of WMAR.” Id. at ¶ 12

                   11 (emphasis added). Plaintiffs’ disagreement with the rules does not equate breach of contract.

                   12 Notably, the FAC made nearly identical allegations. Compare FAC ¶ 193 with SAC ¶ 39.

                   13            Third, Plaintiffs fail to adequately allege a breach. Not only must a plaintiff identify
                   14 a contractual right, but also he must allege how, under the alleged contract, that right was

                   15 violated. See, e.g., MacKay v. Loew’s, Inc., 182 F.2d 170, 172 (9th Cir. 1950) (upholding

                   16 grant of dismissal where “amended complaints fail[ed] to allege that [defendants] violated a

                   17 provision of the…contract”). Here, even if WMAR’s Bylaws and MLS Rules were contracts

                   18 (they are not), Plaintiffs failed to allege any breach; rather, they allege that WMAR acted

                   19 consistent with these rules, which, for example, prohibit the inclusion of certain information

                   20 in the public remarks section of broker listings and give WMAR “the authority to remove

                   21 from the MLS system, any listing violations….” Compare SAC ¶ 11 n.3 (alleging WMAR

                   22 has authority to exclude certain information) with ¶ 11 (complaining WMAR acted consisted

                   23 with this authority). Plaintiffs also allege that WMAR’s rules require WMAR to maintain

                   24 lockboxes, but that access to these lockboxes is limited to “only members of a particular

                   25 association….” SAC ¶ 12. But Plaintiffs do not plead that WMAR prevented Plaintiffs from

                   26 having lockbox access; only that WMAR prevented non-parties from having lockbox

                   27 access. In other words, Plaintiffs plead that WMAR restricts lockbox access to WMAR

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                    1 members consistent with its rules. Id. Again, the FAC made functionally identical

                    2 allegations. (See Dkt. 36 at 9-10.).

                    3            Fourth, Plaintiffs fail to adequately allege damages. It is axiomatic that a plaintiff
                    4 must plead damages flowing from a breach. Graham, 112 Ariz. at 185, 540 P.2d at 657

                    5 (citations omitted) (holding that to state a contract claim, plaintiff must prove “the existence

                    6 of the contract, its breach and the resulting damages”) (emphasis added); accord Ruiz v.

                    7 Gap, Inc., 380 Fed. Appx. 689, 692 (9th Cir. 2010) (citations and quotations omitted) (“An

                    8 essential element of a claim for breach of contract are damages resulting from the breach”)

                    9 (emphasis added); see also Gibson v. Office of the AG, 561 F.3d 920, 929 (9th Cir. 2009)

                   10 (“because…Plaintiffs failed to allege foreseeable damages, Plaintiffs failed to state a

                   11 contract claim”).10 Here, as discussed, Plaintiffs do not allege how WMAR breached any

                   12 contract, or even that any contract existed. Plaintiffs identify rules to which they are subject

                   13 and assert that WMAR is following these rules. The FAC contains no allegations regarding

                   14 how any breaches have harmed Plaintiffs. Instead, Plaintiffs assert that WMAR is

                   15 complying with its alleged contracts with Plaintiffs, and somehow being damaged.

                   16            Even if the Court were to entertain Plaintiffs’ theory that WMAR breached a contract
                   17 with Plaintiffs by adhering to that alleged contract, Plaintiffs fail to identify how each of

                   18 them were actually harmed by WMAR’s conduct. Instead, they merely assert that WMAR’s

                   19 actions have “caus[ed] Plaintiffs to lose potential buyers causing a loss of income, placing

                   20 Plaintiff’s real estate brokerage license at risk,” and “infringing” on various “duties”

                   21 Plaintiffs allegedly have “pursuant to Arizona Administrative Code R4-28-502(G) … [and]

                   22 (C).” SAC ¶ 37 (which, notably, comprises “COUNT 3 through 117” of Plaintiff’s breach

                   23 of contract claims). Just as a pleading that lumps all the defendants together fails to provide

                   24 sufficient notice of a claim, so too does a pleading that lumps all the plaintiffs together. That

                   25

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                        10
                         Moreover, if the Court finds that Plaintiffs failed to state a contract claim, the Court need
                   27
                      not even reach the issue of whether damages were sufficiently alleged. See Hannibal-Fisher
                   28 v. Grand Canyon Univ., 523 F. Supp. 3d 1087, 1096 n.3 (D. Ariz. 2021).
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                    1 is especially true in a case like this, where only the individual Plaintiff is a licensed broker

                    2 who would have had any duties under Arizona’s Administrate Code, and who’s real estate

                    3 brokerage license could ever have been at risk. See RJN, ¶¶ 1–3. Moreover, Plaintiffs

                    4 complain only of speculative damages, which are insufficient. Clapper v. Amnesty Internat’l

                    5 USA, 568 U.S. 398, 401 (2013). Dismissal of the Breach of Contract Counts is appropriate.

                    6            Finally, GHR is a sole proprietorship. SAC ¶ 3. Therefore, GHR is not a separate
                    7 entity in fact or law from Grady Hillis, himself. See State v. Ivanhoe, 798 P.2d 410, 412

                    8 (Ariz. Ct. App. 1990). And Mr. Hillis did not start doing business as GHR until 2011. See

                    9 RJN, ¶¶ 1–2, Exs. A–B. GLH LLC was not formed until 2015. See id. ¶ 3, Ex. C. Even if,

                   10 arguendo, these documents were contracts, GHR’s and GLH LLS’s claims would fail for

                   11 lack of privity as GHR and GLH LLS did not exist when the contract was allegedly created

                   12 in 1999. Pimal Prop., Inc. v. Cap. Ins. Grp., Inc., 2012 U.S. Dist. LEXIS 24172, 2012 WL

                   13 608392, at *3 (D. Ariz. Feb. 27, 2012).

                   14            D.        Plaintiffs’ Negligence Claims Must be Dismissed11
                   15            “Under current Arizona common law, [P]laintiffs were required to prove four
                   16 elements to establish a claim for negligence: (1) the existence of a duty recognized by law

                   17 requiring defendants to conform to a certain standard of care; (2) defendants’ breach of that

                   18 duty; (3) a causal connection between the breach and plaintiffs’ resulting injury; and (4)

                   19 actual damages.” Delci v. Gutierrez Trucking Co., 275 P.3d 632, 634 (Ariz. Ct. App. 2012).

                   20 “If no duty is owed, a negligence action cannot be maintained.” Id. As shown below,

                   21 Plaintiffs fail to allege sufficient facts to state a claim for negligence.

                   22            First, as with the FAC, the SAC lacks facts from which the Court could infer that
                   23 WMAR owed any plaintiff a duty—recognized by law—to conform to a particular standard

                   24 of conduct to protect them against unreasonable risks of harm with regard to the MLS listing

                   25 or lockbox access. See Delci, 275 P.3d 634 (defining duty). Importantly, under Arizona law,

                   26

                   27   11
                        Plaintiffs’ 90 Negligence Counts are labeled in the SAC as “Counts 385-432,” “Counts
                   28 524-566,” and “Count 612.”
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                    1 foreseeability is not a factor in determining the existence of a duty. Quiroz v. Alcoa Inc., 416

                    2 P.3d 824, 828–29 ¶¶ 11–13 (Ariz. 2018) (discussing Gipson v. Kasey, 150 P.3d 228, 231 ¶¶

                    3 14–17 (Ariz. 2007)). And, “[i]f no duty exists, defendant ‘is not liable even though he may

                    4 have acted negligently in light of the foreseeable risks.’” Luce v. State Title Agency, 950

                    5 P.2d 159, 161 (Ariz. Ct. App. 1997) (quoting Markowitz v. Ariz. Parks Bd., 706 P.2d 364,

                    6 368 (Ariz. 1985)). Instead, “duty in Arizona is based on either recognized common law

                    7 special relationships or relationships created by public policy.” Quiroz, 416 P.3d at 829 ¶

                    8 14; accord Gipson, 150 P.3d at 231 ¶¶ 14–17. The general rule is that absent a special

                    9 relationship such as that existing between common carrier-passenger, innkeeper-guest,

                   10 landowner-invitee, custodian-ward, shopkeeper-business invitee, or employer-employee, no

                   11 duty exists to take affirmative precaution for the aid or protection of another. Bogue v.

                   12 Better-Bilt Aluminum Co., 875 P.2d 1327, 1339 (Ariz. Ct. App. 1994) (citing RESTATEMENT

                   13 (2D) OF TORTS §§ 314A, 314B (1965); Prosser and Keeton on the Law of Torts § 56, at 373–

                   14 85. Here, the SAC, like the FAC, lacks factual allegations of a special relationship between

                   15 WMAR and any plaintiff to create a duty. See generally SAC (Plaintiffs do not allege an

                   16 employer-employee, landowner-invitee/licensee, common carrier-passenger, or innkeeper-

                   17 guest relationship with WMAR). Indeed, Plaintiffs only attempt to define their relationship

                   18 by an unidentified contract from 23 years ago for advertising and lockboxes. See, e.g., SAC,

                   19 ¶ 29. Plaintiffs cannot allege a special relationship recognized by law.

                   20            Moreover, public policy considerations also do not create a duty because public
                   21 policy in Arizona is based on state statutes, Quiroz, 416 P.3d at 830 ¶ 18, and “a statute may

                   22 only establish a duty of care if it is designed to protect the class of persons, in which the

                   23 plaintiff is included, against the risk of the type of harm which has in fact occurred as a result

                   24 of its violation.” Trinidad v. BioLife Plasma Servs., L.P., No. 20-2496, 2021 WL 4805325,

                   25 at *3 n.2 (D. Ariz. Oct. 14, 2021). Moreover, as statutes that protect against “purely

                   26 economic loss” do not create a duty, Sullivan v. Pulte Home Corp., 354 P.3d 424, 428 ¶ 11

                   27 (Ariz. Ct. App. 2015), only criminal statutes having to do with a plaintiff’s physical safety

                   28 have been found to create a duty under Arizona law. Nelson v. Bank of Am., No. CV 11-
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                    1 1117-PHX-SRB, 2012 U.S. Dist. LEXIS 192286, at *14–15 (D. Ariz. Jan. 17, 2012) (citing

                    2 Gipson, 150 P.3d at 233). Absent such a statute, courts in Arizona are advised to “exercise

                    3 great restraint in declaring public policy,” as it is best left to the legislature. Quiroz, 416 P.3d

                    4 at 830 ¶ 19.

                    5            Here, Plaintiffs allege that “Defendants owed Plaintiffs a duty to not infringe on the
                    6 Plaintiff’s advertising in violation of Antitrust laws and other state and ferderal [sic] law and

                    7 administrative code [sic] [concerning real estate agent and broker advertising] as previously

                    8 cited.” SAC ¶¶ 46, 54; see id. ¶¶ 47, 56, 65. These are neither criminal statutes nor are they

                    9 designed to protect real estate brokers and agents from physical harm. Cf. SAC ¶¶ 57, 66–

                   10 67 (alleging loss of “potential buyers and sellers,” “loss of income,” and “potential loss of

                   11 … real estate license”). Moreover, the state laws and regulations governing real estate agent

                   12 and broker advertising impose duties on Plaintiffs—not WMAR. See Trinidad, 2021 WL

                   13 4805325, at *3 n.2 (finding statute holding plaintiff’s class liable was not intended to create

                   14 a duty for plaintiff’s benefit). As no duty recognized by law exists between WMAR and any

                   15 Plaintiff, their negligence counts fail as a matter of law.

                   16            Second, because Plaintiffs failed to allege any specific duty that was required by any
                   17 standard of care, they are unable to allege a corresponding breach. Without factual

                   18 allegations showing a plausible breach of a standard of care, the negligence claims fail.

                   19            Third, Plaintiffs also failed to plead that they suffered an actual injury. Instead, they
                   20 plead speculative economic loss in the form of “potential buyers and sellers,” “loss of

                   21 income,” and “potential loss of … real estate license.” See, e.g., SAC ¶¶ 47–48, 56–57 . Like

                   22 the FAC, the SAC alleges no actual, present loss or injury. Again, mere allegations of

                   23 speculative harm is not enough. See, e.g., Clapper, 568 U.S. at 401 (finding injury that “rests

                   24 on a speculative chain of possibilities that does not establish that … potential injury is

                   25 certainly impending”); De Stories v. Phoenix, 744 P.2d 705, 708–09 (Ariz. Ct. App. 1987)

                   26 (finding allegations of increased risk of harm did not constitute a present injury for

                   27 negligence). Neither are claims, as alleged here, of mental suffering unaccompanied by

                   28 physical injury. See Id., 744 P.2d at 710–11 (finding the existence of physical harm or
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                    1 medically identifiable effect is a prerequisite for mental anguish claim); SAC ¶¶ 48, 57, 67.

                    2 Plaintiffs’ lack of actual injury is fatal to their negligence counts.

                    3            Finally, Plaintiffs failed to plead facts to satisfy the causation element—that
                    4 WMAR’s alleged acts or omissions were reasonably likely the cause of any alleged injury,

                    5 not that it merely made it possible. Purcell v. Zimbelman, 500 P.2d 335 (Ariz. 1972).

                    6 Dismissal of the negligence counts is required.

                    7            E.        Plaintiffs’ Tortious Interference Claims Must be Dismissed12
                    8            To plead a prima facie claim for tortious interference with contract, a plaintiff must
                    9 plead facts to establish the following elements: “[i.] the existence of a valid contractual

                   10 relationship or business expectancy; [ii.] the interferer’s knowledge of the relationship or

                   11 expectancy; [iii.] intentional interference inducing or causing a breach or termination of the

                   12 relationship or expectancy; and [iv.] resultant damage to the party whose relationship or

                   13 expectancy has been disrupted.” Miller v. Hehlen, 104 P.3d 193, 202 ¶ 32 (Ct. App. 2005)

                   14 (citations and internal quotation marks omitted). Plus, a plaintiff must allege a fifth element:

                   15 that the interference was “improper.” Id.; accord Safeway Ins. Co. v. Guerrero, 106 P.3d

                   16 1020, 1025 ¶ 14 (Ariz. 2005). Accordingly, Plaintiffs cannot state a claim without alleging

                   17 plausible facts showing that WMAR knew about a specific listing contract and improperly

                   18 and intentionally caused a breach or termination of that listing contract. See id.; see also,

                   19 e.g., Dent v. Lotto Sport Italia S.p.A., No. 17-651, 2018 WL 11318189, at *4 (D. Ariz. Feb.

                   20 12, 2018) (dismissing claim that “fail[ed] to allege any facts suggesting Defendant knew of

                   21 Plaintiff’s contractual relationship with GoDaddy”); Best v. Mosely, No. 10-0700, 2011 WL

                   22 4857770, at *3 (Ariz. Ct. App. Oct. 13, 2011) (“[B]ecause Best fails to allege that a contract

                   23 was actually breached as a result of Mosley’s alleged interference, he has failed to plead a

                   24 claim for tortious interference … .”).

                   25            Here, the SAC includes 90 counts for tortious interference with contract based upon
                   26

                   27   12
                        Plaintiffs’ 90 Tortious Interference Counts are labeled in the SAC as “Counts 433–480,”
                   28 “Counts 567–609,” and “Count 613.”
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                    1 five categories of alleged conduct: i) the deletion of contact information, ii) the deletion of

                    2 financial interest, iii) lockbox access, iv) “threat[s] to fine Plaintiffs due to listing[s] … being

                    3 on Facebook and not yet in MLS,” and improperly subjecting Plaintiffs to a grievance

                    4 process (collectively, “Tortious Interference Counts”). See generally SAC. Yet, none of

                    5 Plaintiffs’ Tortious Interference Counts allege well-pleaded facts to state a claim.

                    6            Instead, Plaintiffs merely parrot the elements set forth above. For example, Plaintiffs
                    7 plead no facts demonstrating that Plaintiffs had “a valid contractual relationship . . . or

                    8 business expectancy,” but merely recite the required element that “there existed a valid

                    9 contractual relationship between the Plaintiffs and their client for [a certain] listing [number]

                   10 and/or a business expectancy.” SAC ¶ 70. Similarly, Plaintiffs plead no facts demonstrating

                   11 that WMAR knew of any contract that was allegedly interfered with, but make conclusory

                   12 allegations that “[t]he Defendants”—not WMAR, specifically—“had knowledge of [a]

                   13 relationship and/or business expectancy.” Id. There is not a single fact alleged showing how

                   14 WMAR could have known, much less actually knew, about the contractual relationships

                   15 between the Plaintiffs and their unidentified clients for particular listings. SAC ¶ 59. Nor

                   16 does the FAC allege that any specific contracts were breached or “terminated . . . due to the

                   17 actions” of WMAR. Gorney v. Arizona Bd. of Regents, No. 13-23, 2013 WL 5348304, at

                   18 *10 (D. Ariz. Sept. 24, 2013). A “[t]hreadbare recital[] of the elements of a cause of action,”

                   19 as has been done here, “do[es] not suffice” to state a claim. Iqbal, 556 U.S. at 678; accord

                   20 Twombly, 550 U.S. at 555; see, e.g., Kerr v. First Franklin, Nat'l Ass'n, No. CV-12-08065-

                   21 PCT-JAT, 2012 U.S. Dist. LEXIS 119437, at *9 (D. Ariz. Aug. 22, 2012) (dismissing claim

                   22 that “appears to simply parrot the elements”).

                   23            Finally, Plaintiffs have not, and cannot, allege any resultant damage to the party
                   24 whose relationship or expectancy allegedly has been disrupted, because the only damages

                   25 Plaintiffs allege are the loss of “potential buyers,” the loss of potential income, and a

                   26 potential “risk” to their brokerage license, which are speculative and do not allege injury or

                   27 harm. Clapper, 568 U.S. at 401 (finding that injury that “rests on a speculative chain of

                   28 possibilities that does not establish that their potential injury is certainly impending” does
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                    1 not constitute injury-in-fact).

                    2            These omissions require dismissal of Plaintiffs’ Tortious Interference Claims.
                    3 IV.        THE SAC VIOLATES FEDERAL RULES OF CIVIL PROCEDURE 8 AND 10(b)
                    4            Despite being much shorter than the FAC, at 26 pages, the SAC fails to comply with
                    5 Rules 8(a) and 10(b), as it contains 613 counts set forth in blocks of claims, buries allegations

                    6 in voluminous paragraphs and footnotes, and relies on group pleading of “Defendants,”

                    7 making it impossible for WMAR (or any Defendant) to admit or deny Plaintiffs’ allegations.

                    8 See, e.g., SAC ¶ 39 (alleging 109 breach of contract claims); ¶ 43 (alleging 83 antitrust

                    9 claims); ¶ 46 (alleging 48 negligence claims); ¶ 50 (alleging 48 tortious interference claims).

                   10 Indeed, of those 613 claims, only six—less than 1%—refer to a discrete claim; ¶ 5 n. 1

                   11 (single spaced footnote comprising 75% of a page); ¶ 41 n. 5 (footnote consisting of five

                   12 additional paragraphs of allegations). See id. at ¶¶ 1–2, 610–13. Dismissal is proper as this

                   13 is a blatant violation of Federal Rule of Civil Procedure 8(a)’s requirement of “a short and

                   14 plain statement of the claim showing that the pleader is entitled to relief” and 10(b)’s

                   15 requirement that “[a] party must state its claims or defenses in numbered paragraphs, each

                   16 limited as far as practicable to a single set of circumstances.” See, e.g., Stone v. Baum, 409

                   17 F. Supp. 2d 1164, 1173, n.3 (D. Ariz. 2005) (“While there is some leeway, Rule 10 must be

                   18 complied with as far as practicable” and noting “the contents of the numbered paragraphs in

                   19 the Complaint fail to be statements of a single set of circumstances and each claim founded

                   20 upon a separate transaction or occurrence is not stated in a separate count”); Schayes v. BAC

                   21 Home Loans Servicing, LP, 2011 U.S. Dist. LEXIS 79732, *8, 2011 WL 2746322 (D. Ariz.

                   22 Jul. 15, 2011) (same); c.f. Harris v. Ariz., 2022 U.S. Dist. LEXIS 1986, *4, 2022 WL 195656

                   23 (D. Ariz. Jan. 4, 2022) (recommending dismissal for failure to adhere to Rule 10(b)).

                   24 V.         WMAR IS ENTITLED TO A FEES AWARD PER A.R.S. § 12-341.01(A)
                   25            A.R.S. § 12-341.01(A) provides that “[i]n any contested action arising out of a
                   26 contract, express or implied, the court may award the successful party reasonable attorney

                   27 fees.” Here, Plaintiffs asserted claims for breach of contract and seek their fees. See SAC at

                   28 Counts 1–301, 481–523, 610, and p. 25. Thus, upon dismissal of Plaintiffs’ Breach of
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                    1 Contract Claims, WMAR, as the successful party, is entitled to its attorneys’ fees.13

                    2 VI.        CONCLUSION
                    3            The Court rightfully dismissed Plaintiffs’ 1,295 page FAC for “blatantly violat[ing]
                    4 Rule 8” and “altogether fail[ing] to give Defendants fair notice of Plaintiffs’ claims.” (Dkt.

                    5 51 at 3.) Noting that the FAC “is largely devoid of facts,” the Court warning that “Plaintiffs

                    6 risk sanctions if the [SAC] is legally frivolous or factually misleading.” (Id. at 5 (emphasis

                    7 added).) Undeterred, Plaintiffs filed the SAC. But as shown above, the SAC is simply a

                    8 condensed version of the FAC, and demonstrates that the complaint’s deficiencies cannot be

                    9 cured by amendment. Thus, allowing Plaintiffs to amend the complaint for a fourth time

                   10 would be a fruitless endeavor and should not be granted. Leadsinger, Inc. v. BMG Music

                   11 Publ'g, 512 F.3d 522, 532 (9th Cir. 2008) (denying leave to amend because of “repeated

                   12 failure to cure deficiencies”); Metzler Inv. GMBH v. Corinthian Colls., Inc., 540 F.3d 1049,

                   13 1072 (9th Cir. 2008) (“[T]he district court’s discretion to deny leave to amend is particularly

                   14 broad where plaintiff has previously amended the complaint.”); Seyed Mohsen Sharifi

                   15 Takieh v. Banner Health, 515 F. Supp. 3d 1026, 1050 (D. Ariz. 2021) (amendment is futile

                   16 where no amendment will cure the deficiencies). For these and the foregoing reasons,

                   17 Defendant respectfully requests the Court dismiss Plaintiffs’ SAC in its entirety with

                   18 prejudice.

                   19            RESPECTFULLY SUBMITTED this 3rd day of July, 2022.
                   20                                       LEWIS BRISBOIS BISGAARD & SMITH LLP
                   21

                   22                                       By
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                   23                                              Kathryn Honecker
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                        13
                        If the Court awards WMAR its attorneys’ fees under A.R.S. § 12-341.01, WMAR will file
                   27
                      a separate motion for attorneys’ fees consistent with the factors required under Associated
                   28 Indem. Corp. v. Warner, 694 P.2d 1181, 1184 (1985).
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                    1                      CERTIFICATE OF COMPLIANCE WITH LRCIV 12.1.
                    2            Pursuant to Local Rule 12.1, undersigned counsel hereby certifies that on August 2,
                    3 2022, prior to filing this Motion, she called Plaintiffs’ counsel to notify Plaintiffs of the

                    4 issues asserted in the Motion and left a message with his receptionist. Undersigned counsel

                    5 followed up later that same day with an email message notifying Plaintiff’s counsel of the

                    6 issues asserted in the above Motion to Dismiss and advising of Defense counsel’s open

                    7 availability for a telephone conference to discuss any of the issues prior to filing. Defense

                    8 counsel responded via email on August 3, 2022, that he would respond the following week.

                    9 As such, the parties were unable to agree that the pleading was curable in any part by a

                   10 permissible amendment.

                   11
                                                            LEWIS BRISBOIS BISGAARD & SMITH LLP
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                                                            By
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                    1                                   CERTIFICATE OF SERVICE
                    2             I certify that on the 3rd day of August, 2022, I electronically transmitted the foregoing
                    3 document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a

                    4 Notice of Electronic Filing to all CM/ECF registrants of record in this matter.

                    5
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